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                                                                                     FILED IN CLERK’S OFFICE
                                                                                           U.S.D.C;Atlanta

                      IN THE UNITED STATES DISTRICT COURT
                                                                                          JULO7ZOZO
                     FOR THE NORTHERN DISTRICT OF GEORGIA                            JAMES N. HAIIEN, Clerk
                               ATLANTA DIVISION                                                              CWrR

KENNI BROWN,                                            )
       Plaintiff;                                       )

Vs                                                      )      Civil ActionNo. I :20-CV-I 562


                                                        )      Jury Trial Demanded
WILLIAM H DEWALT,                                       )
ZACHARY K DAY                                           )
MICHAEL L MACK                                          )
MICHAEL REGISTER                                        )
COBB COUNTY                                             )


                             AMENDED COMPLAINT
                     UNDER THE CIVIL RIGHTS ACT, 42 U.S.C.              §   1983
                                   ~on-Prisoner)

       COMES NOW, Kenni Brown (hereinafter “Mr. Brown”) files this Amended Civil

Rights action pursuant to 42 U.S.C.   §   1983 and alleges that the above mentioned defendants

violated his Constitutional rights guaranteed by the fourth and fourteenth amendment to the

United States Constitution, and law(s)of the State of Georgia.

                                          INTRODUCTION

       On December 18, 2017 at approximately 2:15pm Mr. Brown was shopping at the

Cumberland Mall. As he returned to his vehicle, Absent ajustifiable reason, officer(s) Dewalt

and Day began following him in an unmarked van along with officer Mack who was in a marked

patrol car. All officers at the time worked for the Cobb County Police Department. The officer(s)

followed Mr. Brown into Fulton County where officer Mack initiated a traffic stop. Officer Mack




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approached Mi. Browns’ vehicle and stated that he failed to signal. Shortly after officer Dewalt

and Day approached Mr. Browns’ vehicle asking if there were any drugs in the vehicle and if

they could search. Mr. Brown replied “No, there’s no drugs and No you can’t search my

vehicle”. Officer(s) Bartlett and Johnson then arrived with a K-9. Officer(s) Dewalt and Day then

approached Mr. Browns’ driver side door and snatched him out of the car. Mr. Brown was

searched and placed in the back of officer Macks’ patrol car while the dog sniffed around and

inside the vehicle. After the dog finished sniffing inside the vehicle Officer(s) Dewalt, Day, and

Johnson searched Mr. Browns’ entire car but no drugs were found. Officer Dewalt took Mr.

Brown out of the patrol car and began searching him again and at that time intentionally twisted

Mr. Brown’s arm causing severe shoulder pain. He stated that’s what happens when you don’t

listen to the police. Mr. Brown was taken to the Cobb County Jail and charged with Improper

Lane Change, Obstruction, and Open Container. On April 26, 2018 Mi. Brown stood trial Pro Se

in Cobb County State Court where he was found not guilty on all three counts. Mr. Brown filed

his original complaint on April 10, 2020. Following this court order issued on June 18, 2020,

which Mr. Brown didn’t receive until July 1, 2020 because of the current situation of our

country. Mr. Brown had to rush and file an incomplete amended complaint on July 2, 2020, with

permission of this court Mr. Brown would like to replace that incomplete amended complaint

filed on July 2, 2020 with this amended complaint.

                                            PARTIES

1. Plaintiff Kemii Brown,   P.O. Box 19005 Atlanta Ga, 31126 resides in Fulton County Georgia,
   (561)870-5896, raiders34.kb~gmail.com




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2. Defendant William H Dewalt 1153, cobb county police officer, 140 North Marietta Pkwy, Ga

    30060, Cobb County, (770) 499-3900, Individual and Official Capacity

3. Defendant Zachary K Day 1849, cobb county police officer, 140 North Marietta Pkwy, Ga

    30060, Cobb County, (770) 499-3900, Individual and Official Capacity

4. Defendant Michael L Mack 1693, cobb county police officer, 140 North Marietta Pkwy, Ga

    30060, Cobb County, (770) 499-3900, Individual and Official Capacity

5. Defendant Micheal Register, cobb county police chieg 140 North Marietta Pkwy, Ga 30060,

    Cobb County, (770) 499-3900, Official Capacity.

6. Cobb County,       too cherokee street, Marietta, Ga 30090 (770) 528-3300, official Capacity.
                                   JURISDICTION AND VENUE

7. This Court has jurisdiction of this action pursuant to 42 U.S.C.     §   1983, because this action

   arises under the Fourth Amendment to the United States Constitution.

8. This court has jurisdiction to grant both compensatory and punitive relief pursuant to 28

   U.S.C.   §~ 2201    and 2202.

9. Venue is proper in this District pursuant to 28 U.S.C.   §   1391(b)(1), because all parties reside

   within this district.

                                       FACTUAL BACKGROUND

10. On December 18, 2017 officer(s) Dewalt, Day, and Mack were working crime suppression

   activities near the cumberland mall when they followed, stopped and arrested Mr. Brown

   without probable cause.

11. The officer(s) profiled Mr. Brown, who was merely walking back to his car with a Macy’s

   shopping bag.




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 12. Officer Mack admitted that they were in the area looking for people who may be engaging in

    criminal activity during the holidays as a part of their assignment.

13. Officer Mack knew that Mr. Brown did not commit the traffic violations because he was

    following Mr. Brown shortly after he left the mall way before Mr. Brown got onto Cobb

    Parkway, and he also admits that he did not see the violation.

14. During the traffic stop, Dewalt and Day unlawfully grabbed and searched Mr. Brown against

    his will without probable cause, in violation of the fourth amendment to the United States

    Constitution.

15. Officer Dewalt intentionally twisted Mr. Brown’s arm causing severe pain and damage when

    he took Mr. Brown out the car to conduct a second illegal search for drugs.

16. On that same day officer Mack held Mr. Brown against his will when he transported him to

    Cobb County ADC, where he also conducted an illegal search without probable cause.

17. Later that day, office Dewalt and Day filed false reports against Mr. Brown which led to his

    arrest and malicious prosecution for improper lane change, obstruction, and open container.

18. The officers falsely alleged that Mr. Brown failed to signal twice but gave two separate

   locations as to where the violation occurred, officer Dewalt stated that the violations occurred

   while traveling south on Cobb Parkway, officer Day stated that the violations occurred on

   Akers Mill Rd; It is important to note that both officers were traveling in the same vehicle.

19. Both officers intentionally omitted the fact that the traffic stop occurred while in Fulton

   County where they had no official power.

20. Because Mr. Brown objected to his vehicle being searched, officer Dewalt “out of spite”

   called for a K-9 to conduct an illegal search of Mr. Browns’ vehicle.




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21. The officers also lied about the dog alerting to the presence of drugs.

22. Video evidence will show two officers picking up a “Empty” Hennessy bottle and tossing it

    back down during the search for drugs, but because no drugs were found officer dewalt then

    claimed that the empty bottle contained very little alcohol therefore was considered an open

    container.

23. The officers also lied about Mr. Brown obstructing officer Dewalt, which he did not for

    several reasons (1) the stop was without probable cause, Mr Brown did not commit a traffic

    offense and they knew that, (2) The traffic stop was outside the officer(s) jurisdiction where

    they had no official power. (3) Officer Mack who initiated the stop instructed Mr. Brown to

    sit tight while he ran Mr. Brown thru the system, and Mr. Brown did not know who officer

   Dewalt was because he was dressed in normal clothes and not a police uniform. (4) the video

   will show Mr. Brown opened his car door to exit the vehicle, and asked officer Dewalt to

    step back so he could get out.

24. Mr. Brown was arrested on 12/18/2017 and released after paying bond on 12/19/2017.

25. Mr. Browns’ vehicle was taken to impound against his will, and he was forced to pay to have

   it released.

26. Mr. Brown was arraigned on all three counts in early 2018. At the arraignment the officer(s)

   continued to lie about what transpired on 12/18/2017.

27. On April 26, 2018 Mr. Brown was tried and found not guilty on all three counts.

28. Cobb County Police Department, failed to train, and supervise their employees, the officer(s)

   obviously don’t know where the county line is, or dont know that they can’t malce an arrest

   beyond the county line.




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29. The department’s practice of placing undercover officers, uniform officers, and K-9 officers

   around the area of the mall during the holiday season to stop and harass people in an attempt

   to catch criminals prior to committing a crime should be unlawful. I don’t disagree with

   police being present, but they should only be present and not actively trying to find a

   criminal to a crime that has not been committed.

30. The department’s practice of allowing undercover officers to follow drivers in an unmarked

   police car is dangerous, intimidating, and a form of entrapment. If a person notices another

   vehicle following them their focus would be on the vehicle that’s following them and not the

   road,which may cause people to commit at least a minor traffic violation.

                                                Count 1

         Claim Under 42 USC     § 1983, for Malicious Prosecution in violation of the Fourth
              Amendment to the United States Constitution (Improper Lane Change)

31. Element 1 Mr. Brown fourth amendment right to unreasonable searches and seizures was

   violated by officer Dewalt and Day when they forcefully grabbed Mr. Brown out of his

   vehicle without probable cause. Mr. Brown had not committed any violations at the time.

32. Mr. Brown fourth amendment right to unreasonable seizure was violated by officer Mack

   when he initiated the stop for a crime that he knew did not occur, each officer claimed that

   the violation occurred on two differed roads, regardless, officer Mack had a visual on Mr.

   Browns’ vehicle prior to him reaching either of those two roads, and he stated that he did not

   witness a violation. He also transported Mr. Brown to Cobb County ADC without probable

   cause.




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33. All three officers were working under the direction of Micheal Register/Cobb County who

    gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

   also developed and managed the crime suppression assignment which violated Mr. Brown’s

   fourth amendment right. Michael Register/Cobb County was responsible for training these

   three officers which they failed to do.

34. Element 2 officer Dewalt and Day false reports that Mr. Brown had committed a traffic

   violation created the foundation for the prosecution.

35. Officer Mack pulled Mr. Brown over and transported him to Cobb County ADC for improper

   lane change when he knew that Mr. Brown did not commit a traffic offense or any other

   crime.

36. All three officers were working under the direction of Micheal Register/Cobb County who

   gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

   also developed and managed the crime suppression assignment. Michael Register/Cobb

   County was responsible for training these three officers which they failed to do.

37. Element 3 Officer Dewalt and Day acted with malice because they intentionally followed

   Mr. Brown for no justifiable reason. Mr. Brown was pulled over and dragged out of his

   vehicle for shopping. Neither officer could articulate a reasonable suspicion that would

   justi~’ their actions on 12/18/2017, Officer Dewalt failed to mention he followed Mr. Brown

   from the mall, Officer Day stated that Mr. Brown was merely sitting in his car for several

   minutes. Even after their hunt for drugs turned up empty they continued to harass Mr. Brown.

   No traffic offense was committed, their actions were motivated by pure malice.




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38. Officer Mack also knew that no traffic offense had occurred so he had to possess the same

    level of malice if not more as officer(s) Dewalt and Day. Officer Mack initiated the stop, and

   he’s also the same officer that transported Mr. Brown to Cobb County ADC.

39. All three officers were working under the direction of Micheal Register/Cobb County who

   gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

   also developed and managed the crime suppression assignment. Michael Register/Cobb

   County was responsible for training these three officers which they failed to do.

40. Element 4 Mr. Brown was found not guilty of improper lane change on April 26, 2018

   therefore the prosecution was terminated in favor of Mr. Brown.

41. Element 5 these officers, and Cobb County have caused emotional distress, bodily injury,

   monetary loss in the amount of the bond and the cost of getting his vehicle out of impound.

   Officer Dewalt caused the bodily injuries when he intentionally twisted Mr. Browns’ arm

   while pretending to be searching. The pain in Mr. Brown’s shoulder is ongoing, and some

   days prevents him from working. As a result of all their actions Mr. Brown suffers mentally

   and emotionally as well. He had to defend these allegations not only in court, but to his

   family, and friends.

                                            Count 2

     Claim Under 42 USC      § 1983, for Malicious Prosecution in violation of the Fourth
                Amendment to the United States Constitution (Obstruction)

42. Element 1 Mr. Brown fourth amendment right to unreasonable searches and seizures was

   violated by officer Dewalt and Day when they forcefälly grabbed Mr. Brown out of his

   vehicle without probable cause. Mr. Brown had not committed any violations at the time.




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43. Mr. Brown’s fourth amendment right to unreasonable seizures was violated by officer Mack

    when he transported Mr. Brown to Cobb County ADC for obstruction when he knew that Mr.

    Brown could not have been obstructing an Officer(s) who was engaging in an unlawful

    traffic stop outside their jurisdiction.

44. All three officers were working under the direction of Micheal Register/Cobb County who

    gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

    also developed and managed the crime suppression assignment which violated Mr. Brown’s

   fourth amendment right. Michael Register/Cobb County was responsible for training these

   three officers which they failed to do.

45. Element 2 officer(s) (Dewalt and Day false reports that Mr. Brown was obstructing was the

   foundation for the prosecution.

46. Officer Mack transported Mr Brown to the Cobb County ADC knowing that Mr. Brown

   wasn’t obstructing or had not committed a crime.

47. All three officers were working under the direction of Micheal Register/Cobb County who

   gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

   also developed and managed the crime suppression assignment. Michael Register/Cobb

   County was responsible for training these three officers which they failed to do.

48. Element 3 Officer Dewalt and Day acted with malice for trying to investigate additional

   crimes while outside their jurisdiction. The Officers had no official power in Fulton County

   thus was acting maliciously when they charged Mr. Brown with Obstruction. Furthermore

   Officer Mack was the initial officer on the scene, and instructed Mr. Brown to sit tight while

   he ran him through the system.




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49. Officer Mack knew that no traffic offense had occurred so he had to possess the same level

   of malice if not more as officer(s) Dewalt and Day to initiate a stop absent probable cause.

   He also transported Mr. Brown to Cobb County ADC.

50. All three officers were working under the direction of Micheal Register/Cobb County who

   gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

   also developed and managed the crime suppression assignment. Michael Register/Cobb

   County was responsible for training these three officers which they failed to do.

51. Element 4 Mr. Brown was found not guilty of obstruction on April 26, 2018 therefore the

   prosecution was terminated in favor of Mr. Brown.

52. Element 5 these officers and Cobb County have caused emotional distress, bodily injury,

   monetary loss in the amount of the bond and the cost of getting Ms vehicle out of impound.

   Officer Dewalt caused the bodily injuries when he intentionally twisted Mr. Browns’ arm

   while pretending to be searching. The pain in Mr. Brown’s shoulder is ongoing, and some

   days prevents him from working. As a result of all their actions Mr. Brown suffers mentally

   and emotionally as well. He had to defend these allegations not only in court, but to Ms

   family, and friends.

                                            Count3

        Claim Under 42 USC      § 1983, for Malicious Prosecution in violation of the Fourth
                 Amendment to the United States Constitution (Open Container)

53. Element 1 Mr. Brown fourth amendment right to unreasonable searches and seizures was

   violated by officer Dewalt and Day when they forcefully grabbed Mr. Brown out of his

   vehicle without probable cause. Mr. Brown had not committed any violations at the time.




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54. Mr. Browns fourth amendment right to unreasonable seizures was violated by officer Mack

    when he transported Mr. Brown to Cobb County ADC for Open Container when he knew

    that the bottle was empty and contained no alcohol.

55. All three officers were working under the direction of Micheal Register/Cobb County who

    gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

    also developed and managed the crime suppression assignment which violated Mr. Brown’s

    fourth amendment right. Michael Register/Cobb County was responsible for training these

    three officers which they failed to do.

56. Element 2 officer Dewalts false report claiming that he found an open container with alcohol

   created the foundation for the prosecution.

57. Officer Day testimony supported Officer Dewalts false allegation that Mr. Brown was in

   possession of an open container.

58. Officer Mack transported Mr. Brown to Cobb County ADC knowing that the bottle was

   empty and that Mr. Brown didn’t commit either of the offenses.

59. All three officers were working under the direction of Micheal Register/Cobb County who

   gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

   also developed and managed the crime suppression assignment. Michael Register/Cobb

   County was responsible for training these three officers which they failed to do.

60. Element 3 Officer Dewalt and Day acted with malice for trying to investigate additional

   crimes while outside their jurisdiction. They had no official power in Fulton County thus the

   Open Container allegation was malicious.




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61. Officer Mack knew that the bottle was empty therefore, should have known that Mr. Brown

    was not in possession of an open container prior to transporting him to the ADC.

62. All three officers were working under the direction of Micheal Register/Cobb County who

   gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

   also developed and managed the crime suppression assignment. Michael Register/Cobb

   County was responsible for training these three officers which they failed to do.

63. Element 4 Mr. Brown was found not guilty of possession of Open Container on April 26,

   2018 therefore the prosecution was terminated in favor of Mr. Brown.

64. Element 5 these officers and Cobb County have caused emotional distress, bodily injury,

   monetary loss in the amount of the bond and the cost of getting his vehicle out of impound.

   Officer Dewalt caused the bodily injuries when he intentionally twisted Mr. Browns’ arm

   while pretending to be searching. The pain in Mr. Browns shoulder is ongoing, and some

   days prevents him from working. As a result of all their actions Mr. Brown suffers mentally

   and emotionally as well. He had to defend these allegations not only in court, but to his

   family, and friends.

                                                 Count 4

            State Law Claim Malicious Prosecution       § 51-7-40 (Improper Lane Change)
65. Element 1 Element 2 officer Dewalt and Day false reports that Mr. Brown had committed a

   traffic violation created the foundation for the prosecution.

66. Officer Mack pulled Mr. Brown over and transported him to Cobb County ADC for improper

   lane change when he knew that Mr. Brown did not commit a traffic offense or any other

   crime.




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67. All three officers were working under the direction of Micheal Register/Cobb County who

    gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

    also developed and managed the crime suppression assignment. Michael Register/Cobb

    County was responsible for training these three officers which they failed to do.

68. Element 2 Officer Dewalt and Day acted with malice because they intentionally followed

    Mr. Brown for no justifiable reason. Mr. Brown was pulled over and dragged out of his

    vehicle for shopping. Neither officer could articulate a reasonable suspicion that would

   justif~’ their actions on 12/18/2017, Officer Dewalt failed to mention he followed Mr. Brown

    from the mall, Officer Day stated that Mr. Brown was merely sitting in his car for several

   minutes. Even after their hunt for drugs turned up empty they continued to harass Mr. Brown.

   No traffic offense was committed, their actions were motivated by pure malice.

69. Officer Mack also knew that no traffic offense had occurred so he had to possess the same

   level of malice if not more as officer(s) Dewalt and Day. Officer Mack initiated the stop, and

   he’s also the same officer that transported Mr. Brown to Cobb County ADC.

70. All three officers were working under the direction of Micheal Register/Cobb County who

   gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

   also developed and managed the crime suppression assignment. Michael Register/Cobb

   County was responsible for training these three officers which they failed to do.

71. Element 3 Mr. Brown was found not guilty of improper lane change on April 26, 2018

   therefore the prosecution was terminated in favor of Mr. Brown.

72. Element 4 these officers and Cobb County have caused emotional distress, bodily injury,

   monetary loss in the amount of the bond and the cost of getting his vehicle out of impound.




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    Officer Dewalt caused the bodily injuries when he intentionally twisted Mr. Browns’ arm

    while pretending to be searching. The pain in Mr. Browns shoulder is ongoing, and some

    days prevents him from working. As a result of all their actions Mr. Brown suffers mentally

    and emotionally as well. He had to defend these allegations not only in court, but to his

    family, and friends.

                                             CountS

               State Law Claim Malicious Prosecution       § 51-7-40 (Obstruction)
73. Element 1 officer(s) (Dewalt and Day false reports that Mr. Brown was obstructing was the

   foundation for the prosecution.

74. Officer Mack transported Mr Brown to the Cobb County ADC knowing that Mr. Brown

   wasn’t obstructing or had not committed a crime.

75. All three officers were working under the direction of Micheal Register/Cobb County who

   gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

   also developed and managed the crime suppression assignment. Michael Register/Cobb

   County was responsible for training these three officers which they failed to do.

76. Element 2 Officer Dewalt and Day acted with malice for trying to investigate additional

   crimes while outside their jurisdiction. The Officers had no official power in Fulton County

   thus was acting maliciously when they charged Mr. Brown with Obstruction. Furthermore

   Officer Mack was the initial officer on the scene, and instructed Mr. Brown to sit tight while

   he ran him through the system.




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77. Officer Mack knew that no traffic offense had occurred so he had to possess the same level

    of malice if not more as officer(s) Dewalt and Day to initiate a stop absent probable cause.

    He also transported Mr. Brown to Cobb County ADC.

78. All three officers were working under the direction of Micheal Register/Cobb County who

    gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

    also developed and managed the crime suppression assignment. Michael Register/Cobb

    County was responsible for training these three officers which they failed to do.

79. Element 3 Mr. Brown was found not guilty of obstruction on April 26, 2018 therefore the

   prosecution was terminated in favor of Mr. Brown.

80. Element 4 these officers and Cobb County have caused emotional distress, bodily injury,

   monetary loss in the amount of the bond and the cost of getting his vehicle out of impound.

   Officer Dewalt caused the bodily injuries when he intentionally twisted Mr. Browns’ arm

   while pretending to be searching. The pain in Mr. Brown’s shoulder is ongoing, and some

   days prevents him from working. As a result of all their actions Mr. Brown suffers mentally

   and emotionally as well. He had to defend these allegations not only in court, but to his

   family, and friends.

                                             Count 6

                State Law Claim Malicious Prosecution       § 51-7-40 (Open Container)
81. Element 1 officer Dewalts false report claiming that he found an open container with alcohol

   created the foundation for the prosecution..

82. Officer Day testimony supported Officer Dewalts false allegation that Mr. Brown was in

   possession of an open container.




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83. Officer Mack transported Mr. Brown to Cobb County ADC knowing that the bottle was

    empty and that Mr. Brown didn’t conmiit either of the offenses.

84. All three officers were working under the direction of Micheal Register/Cobb County who

    gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

    also developed and managed the crime suppression assignment. Michael Register/Cobb

    County was responsible for training these three officers which they failed to do.

85. Element 2 Officer Dewalt and Day acted with malice for trying to investigate additional

   crimes while outside their jurisdiction. They had no official power in Fulton County thus the

   Open Container allegation was malicious.

86. Officer Mack knew that the bottle was empty therefore, should have known that Mr. Brown

   was not in possession of an open container prior to transporting him to the ADC.

87. All three officers were working under the direction of Micheal Register/Cobb County who

   gave them the power to carry out this malicious prosecution. Micheal Register/Cobb County

   also developed and managed the crime suppression assignment. Michael Register/Cobb

   County was responsible for training these three officers which they failed to do.

88. Element 3 Mr. Brown was found not guilty of possession of Open Container on April 26,

   2018 therefore the prosecution was terminated in favor of Mr. Brown.

89. Element 4 these officers and Cobb County have caused emotional distress, bodily injury,

   monetary loss in the amount of the bond and the cost of getting his vehicle out of impound.

   Officer Dewalt caused the bodily injuries when he intentionally twisted Mr. Browns’ arm

   while pretending to be searching. The pain in Mr. Brown’s shoulder is ongoing, and some

   days prevents him from working. As a result of all their actions Mr. Brown suffers mentally




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    and emotionally as well. He had to defend these allegations not only in court, but to his

    family, and friends.

                                       PRAYER FOR RELIEF

Wherefore, Mr. Brown respectfully pray this Court issue him the following relief:

    a. Compensatory relief in the amount of      150,000 for the above mentioned actions,
        (personal injury, mental and emotional stress, cost of bond, fUture medical expenses and

        for the pain and hardship caused by these defendants).

    b. Injunctive relief, to prevent undercover police in unmarked vehicles from following

        people without probable cause. As explained earlier such behavior will only increase the

        chance of a traffic violation due to its distraction and intimidation, and such distraction

        and intimidation should not be used as a clever ploy to induce a traffic violation which

        would then lead to a traffic stop, and search.

    c. Punitive damages should also be awarded in the amount of 100,000 to deter these types

        of behaviors.

    d. Any additional relief this court deems just and proper.

                               CERTIFICATION AND CLOSING

       I Certll~’ to the best of my knowledge, information and belief that this compliant (1) is

not being presented for improper purpose, such as to harass, cause unnecessary delay, or

needlessly increase the cost of litigation; (2) is supported by existing law or by a non frivolous

argument for extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a




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reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise

Complies with the Requirements of Rulel 1

       I agree to provide the Clerk’s Office with any changes to my address where case related

papers may be served. I understand that my failure to keep a current address on file with the

Clerk’s Office may result in the dismissal of my case



Date of Signing   ~ 7 J2o~ZC
Signature of Plaintiff    ~4~h~tL /≤z,yzad-c~~

Printed Nameof Plaintiff     /t2~~,


                                                                          Respectfully Submitted,




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